Case 1:01-cv-12257-PBS Document 6594-11 Filed 10/16/09 Page 1 of 8




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Case    1:01-cv-12257-PBSDocument
     1:06-cv-11337-PBS    Document  6594-11 Filed
                                  315-24     Filed07/24/2009
                                                   10/16/09 Page 2 of
                                                              Page    8 43
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Case    1:01-cv-12257-PBSDocument
     1:06-cv-11337-PBS    Document  6594-11 Filed
                                  315-24     Filed07/24/2009
                                                   10/16/09 Page 3 of
                                                              Page    8 43
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Case    1:01-cv-12257-PBSDocument
     1:06-cv-11337-PBS    Document  6594-11 Filed
                                  315-24     Filed07/24/2009
                                                   10/16/09 Page 4 of
                                                              Page    8 43
                                                                   4 of
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Case    1:01-cv-12257-PBSDocument
     1:06-cv-11337-PBS    Document  6594-11 Filed
                                  315-24     Filed07/24/2009
                                                   10/16/09 Page 5 of
                                                              Page    8 43
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Case    1:01-cv-12257-PBSDocument
     1:06-cv-11337-PBS    Document  6594-11 Filed
                                  315-24     Filed07/24/2009
                                                   10/16/09 Page 6 of
                                                              Page    8 43
                                                                   6 of
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Case    1:01-cv-12257-PBSDocument
     1:06-cv-11337-PBS    Document  6594-11 Filed
                                  315-24     Filed07/24/2009
                                                   10/16/09 Page 7 of
                                                              Page    8 43
                                                                   7 of
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Case    1:01-cv-12257-PBSDocument
     1:06-cv-11337-PBS    Document  6594-11 Filed
                                  315-24     Filed07/24/2009
                                                   10/16/09 Page 8 of
                                                              Page    8 43
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